                       Case 17-30655           Doc 44       Filed 07/10/18 Entered 07/10/18 08:36:59                 Desc Main
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 Fill in this information to identify the case:

                         Jerone Alan Jackson a/k/a Jerone A. Jackson, d/b/a My Three Js
 Debtor 1                Lawn Service

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the:          Western District of Tennessee

 Case number             17-30655



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                  12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or debtor’s principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


 Name of creditor:                              MTGLQ Investors, L.P.             Court claim no. (if known):   6

 Last 4 digits of any number you use to
 identify the debtor’s account:                  XXXXXX0749

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
     No
     Yes. Date of the last notice:

 Part 1:          Itemize Postpetition Fees, Expenses, and Charges

  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow
  account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount,
  indicate that approval in parentheses after the date the amount was incurred.
  Description                                                                       Dates incurred                              Amount

  1.      Late Charges                                                                                                   (1)

  2.      Non-sufficient funds (NSF) fees                                                                                (2)

  3.      Attorney fees                                                                                                  (3)

  4.      Filing fees and court costs                                                                                    (4)

  5.      Bankruptcy/Proof of claim fees                                            02/14/2018                           (5)    $900.00

  6.      Appraisal/Broker’s price opinion fees                                                                          (6)

  7.      Property inspection fees                                                                                       (7)

  8.      Tax advances (non-escrow)                                                                                      (8)

  9.      Insurance advances (non-escrow)                                                                                (9)

  10. Property preservation expenses. Specify:                                                                           (10)

  11. Other. Specify:                                                                                                    (11)

  12. Other. Specify:                                                                                                    (12)

  13. Other. Specify:                                                                                                    (13)

  14. Other. Specify:                                                                                                    (14)


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. §1322(b)(5) and Bankruptcy Rule 3002.1



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Debtor 1        Jerone Alan Jackson                                         Case Number (if known)     17-30655




Part 2:       Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.
   I am the creditor.
   I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.




  /s/ James Bergstrom (20622)                                               Date   07/10/2018
  Signature


                      Joel W. Giddens, Heather Martin-Herron, James Bergstrom, Angela Boyd Mathews, & Jodie
Print:                Thresher                                                                                       Title   Attorneys


Company               Wilson & Associates, PLLC

Address               5050 Poplar, Suite 1015
                      Memphis,TN 38157

Contact phone           (901) 578-9914            Email     jgiddens | hmartin-herron | jbergstrom | amathews | jthresher@thewilsonlawfirm.com


                                                          CERTIFICATE OF SERVICE

          On July 10, 2018, a copy of the foregoing Notice of Postpetition Mortgage Fees, Expenses, and Charges was served electronically
through the electronic case filing system (ECF) upon:

           Gwen Hewitt                                                       George W. Stevenson
           Attorney at Law                                                   Trustee
           5050 Poplar Avenue, Ste 2400                                      5350 Poplar Avenue, Suite 500
           Memphis, TN 38157                                                 Memphis, TN 38119

and served via U.S. mail upon:

           Jerone Alan Jackson
           Debtor
           4213 Indian Brook Cove
           Memphis, TN 38125
                                                                           /s/ James Bergstrom

                                                                           Joel W. Giddens (016700)
                                                                           Heather Martin-Herron (032248)
                                                                           Angela Boyd Mathews (033125)
                                                                           James Bergstrom (20622)
                                                                           Michael G. Clifford (028691)
 W&A No. 120552                                                            Jodie Thresher (025730)




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